  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 1 of 29 Page ID #1




                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS



LINDA ZUMDAHL,                                       Civil Action No.:

            Plaintiff,
 v.                                                  COMPLAINT FOR DAMAGES

SYNGENTA AG; SYNGENTA CROP            DEMAND FOR JURY TRIAL
PROTECTION, LLC; CHEVRON U.S.A. INC.;
and DOES 1 through 60 inclusive,

            Defendants.


       Plaintiff, LINDA ZUMDAHL (hereinafter referred to as “Plaintiff”), by and through

counsel, alleges upon information and belief and complaints of Defendants Syngenta AG (“SAG”)

and Syngenta Crop Protection, LLC (“SCPLLC”)(together with their predecessors-in-interest,

referred to collectively as the “Syngenta Defendants”); Chevron U.S.A. Inc. (together with its

predecessors-in-interest, referred to collectively as the “Chevron Defendants”); and Does One

through Sixty, and states:

                                 STATEMENT OF THE CASE

       1.       Plaintiff LINDA ZUMDAHL suffers from Parkinson’s disease caused by her

exposure to the herbicide Paraquat.

       2.       Plaintiff LINDA ZUMDAHL is a California resident.

       3.       Defendants are companies that since 1964 have manufactured, distributed, licensed,

marketed, and sold Paraquat for use in the United States, including California and Illinois.

       4.       Plaintiff brings this action to recover damages for personal injuries resulting from

exposure to Paraquat manufactured, distributed, and sold by Defendants.




                                                 1
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 2 of 29 Page ID #2




        5.      Defendants’ tortious conduct, including their negligent acts and omissions in the

research, testing, design, manufacture, marketing, and sale of Paraquat, caused Plaintiff’s injuries.

At all relevant times, Defendants knew, or in the exercise of reasonable care should have known,

that Paraquat was a highly toxic substance that can cause severe neurological injuries and

impairment, and should have taken steps in their research, manufacture, and sale of Paraquat to

ensure that people would not be harmed by foreseeable uses of Paraquat.

                                         JURISDICTION

        6.      This Court has jurisdiction over this case for coordination or consolidation of

pretrial proceedings pursuant to 28 U.S.C. § 1407.

        7.      Direct filing is authorized with this Court pursuant to Case Management Order No.

1 entered on June 10, 2021.

        8.      The Federal Court has jurisdiction over Defendants and this action pursuant to 28

U.S.C. § 1332 because there is complete diversity of citizenship between Plaintiff and each

Defendant. Indeed, Plaintiff is a resident of California; SPLLC is a Delaware limited liability

company with its principal place of business in Greensboro, North Carolina (SPLLC is a wholly-

owned subsidiary of Defendant SAG); SAG is a foreign corporation with its principal place of

business in Basel, Switzerland; and Chevron U.S.A., Inc. is a Pennsylvania corporation with its

principal place of business in San Ramon in Contra Costa County, California. Defendants are all

either incorporated and/or have their principal place of business outside of the state in which the

Plaintiff resides.

        9.      The amount in controversy between Plaintiff and Defendants exceeds $75,000,

exclusive of interest and cost.




                                                  2
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 3 of 29 Page ID #3




                                             VENUE

       10.     Venue is proper within the Northern District of California pursuant to 28 U.S.C. §

1391 in that Defendants conduct business here and are subject to personal jurisdiction in this

district. Furthermore, Defendants sell, market, and/or distribute Paraquat within the Northern

District of California. Also, a substantial part of the acts and/or omissions giving rise to these

claims occurred within this District. Chevron U.S.A., Inc. is a corporation organized under the

laws of the State of Pennsylvania, with its headquarters and principal place of business in San

Ramon in Contra Costa County, California.

       11.     This Court has personal jurisdiction over each of the Defendants in this diversity

case because a state court of California would have such jurisdiction, in that:

               a. Over a period of two (Chevron) to six (Syngenta) decades, each Defendant

                   and/or its predecessor(s), together with those with whom they were acting in

                   concert, manufactured Paraquat for use as an active ingredient in Paraquat

                   products, distributed Paraquat to formulators of Paraquat products, formulated

                   Paraquat products, marketed Paraquat products to the California agricultural

                   community, and/or distributed Paraquat products, intending that such products

                   regularly would be, and knowing they regularly were, sold and used in the State

                   of California;

               b. Plaintiff’s claims against each Defendant arise out of these contacts between

                   the Defendant and/or its predecessor(s), together with those with whom they

                   were acting in concert, with the State of California; and

               c. These contacts between each Defendant and/or its predecessors, together with

                   those with whom they were acting in concert, and the State of California, were



                                                 3
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 4 of 29 Page ID #4




                   so regular, frequent, and sustained as to provide fair warning that it might be

                   hauled into court there, such that requiring it to defend this action in the State

                   of California does not offend traditional notions of fair play and substantial

                   justice.

                                            PARTIES

       12.     The true names or capacities whether individual, corporate, governmental or

associate, of the defendants named herein as Doe are unknown to Plaintiff who therefore sues said

defendants by such fictitious names. Plaintiff prays leave to amend this Complaint to show their

true names and capacities and/or bases for liability when the same have been finally determined.

       13.     Plaintiff is informed and believes, and upon such information and belief alleges,

that each of the defendants designated herein as Doe is strictly, negligently, or otherwise legally

responsible in some manner for the events and happenings herein referred to, and negligently or

otherwise caused injury and damages proximately thereby to Plaintiff as is hereinafter alleged.

       14.     At all times herein mentioned each and every of the Defendants was the agent,

servant, employee, joint venturer, alter ego, successor-in-interest, and predecessor-in-interest of

each of the other, and each was acting within the course and scope of their agency, service, joint

venture, alter ego relationship, employment, and corporate interrelationship.

       15.     U.K. manufacturer Imperial Chemical Industries Ltd. a/k/a Imperial Chemical

Industries PLC (“ICI”) first introduced Paraquat to world markets in or about 1962 under the brand

name GRAMOXONE®.

       16.     In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary organized

under the laws of the State of Delaware, which was ultimately known as ICI Americas Inc. (“ICI

Americas”).



                                                 4
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 5 of 29 Page ID #5




        17.     Chevron Chemical Company was a corporation organized under the laws of the

State of Delaware.

        18.     Pursuant to distribution and licensing agreements with ICI and ICI Americas,

Chevron Chemical Company had exclusive rights to distribute and sell Paraquat in the United

States and did in fact manufacture, formulate, distribute, and sell Paraquat in the United States,

including in California for use in California, from approximately 1964 until approximately 1986.

        19.     Chevron U.S.A. Inc. is the successor-in-interest to Chevron Chemical Company.

        20.     At all relevant times, Chevron Chemical Company acted as the agent of Chevron

U.S.A. Inc. in selling and distributing Paraquat in the U.S. At all relevant times, Chevron Chemical

Company was acting within the scope of its agency in selling and distributing Paraquat. Chevron

U.S.A. Inc. is liable for the acts of its agent.

        21.     From approximately 1964 through approximately 1986, pursuant to distribution

and licensing agreements with Chevron Chemical Company, SAG’s and/or SCPLLC’s

predecessors-in-interest, ICI and ICI Americas, and Does One through Sixty manufactured some

or all of the Paraquat that Chevron Chemical Company distributed and sold in the United States,

including in California for use in California.

        22.     From approximately 1964 through approximately 1986, pursuant to distribution

and licensing agreements between and among them, ICI, ICI Americas, Chevron Chemical

Company, and Does One through Sixty acted in concert to register, manufacture, formulate, and

distribute and sell (through Chevron Chemical Company) Paraquat for use in the U.S., including

in California for use in California, and their respective successors-in-interest, SAG, SCPLLC, and

Chevron U.S.A. Inc., are jointly liable for the resulting injuries alleged herein.




                                                   5
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 6 of 29 Page ID #6




          23.    After 1986, SCPLLC, Does One through Sixty, and/or their predecessors-in-

interest sold and distributed and continue to sell and distribute Paraquat in the United States,

including in California for use in California.

          24.    As a result of mergers and corporate restructuring, SAG is the successor-in-interest

to ICI.

          25.    As a result of mergers and corporate restructuring, SCPLLC is the successor-in-

interest to ICI Americas, Inc.

          26.    Thus, from approximately 1964 through the present, the Syngenta Defendants,

Does One through Sixty, or their predecessors-in-interest have manufactured, formulated,

distributed, and sold Paraquat for use in the U.S., including in California for use in California.

                          PLAINTIFF’S EXPOSURE TO PARAQUAT

          27.    At all relevant times, Plaintiff LINDA ZUMDAHL worked in the agricultural

business—working as a flag marker for the family farm in Baileyville, Illinois—and in this

capacity was exposed to Paraquat from the 1961 until approximately 1973: (1) when it was mixed,

loaded, applied, and/or cleaned; (2) as a result of spray drift (the movement of herbicide spray

droplets from the target area to an area where herbicide application was not intended, typically by

wind); and/or (3) as a result of contact with sprayed plants.

          28.    At all relevant times, it was reasonably foreseeable that when Paraquat was used in

the intended or a reasonably foreseeable manner, users of Paraquat and persons nearby would be

exposed to it.

          29.    At all relevant times, it was reasonably foreseeable that Paraquat could enter the

human body: (1) through absorption or penetration of the skin, mucous membranes, and other

epithelial tissues (including tissues of the mouth, nose and nasal passages, trachea, and conducting



                                                  6
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 7 of 29 Page ID #7




airways, particularly where cuts, abrasions, rashes, sores, or other tissue damage were present); (2)

through the olfactory bulb; (3) through respiration into the lungs; and (4) through ingestion into

the digestive tract of small droplets swallowed after entering the mouth, nose, or conducting

airways.

                      PARAQUAT CAUSES PARKINSON’S DISEASE

       30.     At all relevant times, it was reasonably foreseeable that Paraquat that entered a

human body could ultimately enter the brain.

       31.     At all relevant times, it was reasonably foreseeable that Paraquat that entered a

human body could induce the misfolding of the alpha synuclein protein.

       32.     Parkinson’s disease is a progressive neurodegenerative disorder of the brain that

affects primarily the motor system-the part of the central nervous system that controls movement.

       33.     The characteristic symptoms of Parkinson’s disease are its “primary” motor

symptoms: resting tremor (shaking movement when the muscles are relaxed), bradykinesia

(slowness in voluntary movement and reflexes), rigidity (stiffness and resistance to passive

movement), and postural instability (impaired balance).

       34.     Parkinson’s disease’s primary motor symptoms often result in “secondary” motor

symptoms such as freezing of gait; shrinking handwriting; mask-like expression; slurred,

monotonous, quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty

swallowing; and excess saliva and drooling caused by reduced swallowing movements.

       35.     Non-motor symptoms-such as loss of or altered sense of smell; constipation; low

blood pressure on rising to stand; sleep disturbances; and depression-are present in most cases of

Parkinson’s disease, often for years before any of the primary motor symptoms appear.




                                                  7
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 8 of 29 Page ID #8




       36.       There is currently no cure for Parkinson’s disease; no treatment will stop or reverse

its progression; and the treatments most commonly prescribed for its motor symptoms tend to

become progressively less effective, and to increasingly cause unwelcome side effects, the longer

they are used.

       37.       One of the primary pathophysiological hallmarks of Parkinson’s disease is the

selective degeneration and death of dopaminergic neurons (dopamine-producing nerve cells) in a

part of the brain called the substantia nigra pars compacta (“SNpc”).

       38.       Dopamine is a neurotransmitter (a chemical messenger that transmits signals from

one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control of

motor function (among other things).

       39.       The death of dopaminergic neurons in the SNpc decreases the production of

dopamine. Once dopaminergic neurons die, they are not replaced; when enough dopaminergic

neurons have died, dopamine production falls below the level the brain requires for proper control

of motor function, resulting in the motor symptoms of Parkinson’s disease.

       40.       The presence of Lewy bodies (insoluble aggregates of a protein called alpha-

synuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the primary

pathophysiological hallmarks of Parkinson’s disease.

       41.       Dopaminergic neurons are particularly susceptible to oxidative stress, a disturbance

in the normal balance between oxidants present in cells and cells’ antioxidant defenses.

       42.       Scientists who study Parkinson’s disease generally agree that oxidative stress is a

major factor in-if not the precipitating cause of-the degeneration and death of dopaminergic

neurons in the SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons

that are the primary pathophysiological hallmarks of the disease.



                                                   8
  Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 9 of 29 Page ID #9




        43.      Paraquat is highly toxic to both plants and animals, creating oxidative stress that

causes or contributes to cause the degeneration and death of plant or animal cells.

        44.      Paraquat creates oxidative stress in the cells of plants and animals because of “redox

properties” that are inherent in its chemical composition and structure: it is a strong oxidant, and

it readily undergoes “redox cycling” in the presence of molecular oxygen, which is plentiful in

living cells.

        45.      The redox cycling of Paraquat in living cells interferes with cellular functions that

are necessary to sustain life-with photosynthesis in plant cells, and with cellular respiration in

animal cells. The redox cycling of Paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series of

chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids, molecules that are essential components of the structures and functions of living

cells. Because the redox cycling of Paraquat can repeat indefinitely in the conditions typically

present in living cells, a single molecule of Paraquat can trigger the production of countless

molecules of destructive superoxide radical.

        46.      Paraquat’s redox properties have been known to science since at least the 1930s.

        47.      It has been scientifically known since the 1960s that Paraquat (due to its redox

properties) is toxic to the cells of plants and animals. The same redox properties that make Paraquat

toxic to plant cells and other types of animal cells make it toxic to dopaminergic neurons in

humans—that is, Paraquat is a strong oxidant that interferes with the function of, damages, and

ultimately kills dopaminergic neurons in the human brain by creating oxidative stress through

redox cycling.




                                                   9
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 10 of 29 Page ID #10




       48.     Paraquat is one of only a handful of toxins that scientists use to produce animal

models of Parkinson’s disease, i.e., use in a laboratory to artificially produce the symptoms of

Parkinson’s disease in animals.

       49.     Animal studies involving various routes of exposure have found that Paraquat

creates oxidative stress that results in the degeneration and death of dopaminergic neurons in the

SNpc, other pathophysiology consistent with that seen in human Parkinson’s disease, and motor

deficits and behavioral changes consistent with those commonly seen in human Parkinson’s

disease.

       50.     Hundreds of in vitro studies (experiments in a test tube, culture dish, or other

controlled experimental environment) have found that Paraquat creates oxidative stress that results

in the degeneration and death of dopaminergic neurons (and many other types of animal cells).

       51.     Epidemiological studies have found that exposure to Paraquat significantly

increases the risk of contracting Parkinson’s disease. A number of studies have found that the risk

of Parkinson’s disease is more than double in populations with occupational exposure to Paraquat

compared to populations without such exposure.

       52.     These convergent lines of evidence (toxicology, animal experiments, and

epidemiology) demonstrate that Paraquat exposure generally can cause Parkinson’s disease.

                                  PARAQUAT REGULATION

       53.     The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq., which regulates the distribution, sale, and use of pesticides within the U.S., requires

that pesticides be registered with the U.S. Environmental Protection Agency (“EPA”) prior to their

distribution, sale, or use, except as described by FIFRA. 7 U.S.C. 136a(a).




                                                 10
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 11 of 29 Page ID #11




       54.     The California Food & Agric. Code § D. 7, Ch. 2, which regulates the labeling,

distribution, use, and application of pesticides within the State of California, requires that

pesticides be registered with the California Department of Pesticide Regulation (“CDPR”) before

they are offered for sale in the State of California. Cal. Food & Agric. Code § 12811.

       55.     Paraquat is a “restricted use pesticide” under federal law, see 40 C.F.R. § 152.175,

which means it is “limited to use by or under the direct supervision of a certified applicator,” and

is a “restricted material” under California law, see Cal. Code Regs. tit. 3, § 6400(e), which means

it cannot be sold, used, or possessed by any person in California without the proper licensing and

permitting.

       56.     As part of the pesticide registration process, the EPA requires, among other things,

a variety of tests to evaluate the potential for exposure to pesticides, toxicity to people and other

potential non-target organisms, and other adverse effects on the environment.

       57.     As a general rule, FIFRA requires registrants, the chemical companies registered to

sell the pesticides, to perform health and safety testing of pesticides. However, FIFRA does not

require the EPA itself to perform health and safety testing of pesticides, and the EPA generally

does not perform such testing.

       58.     The EPA registers (or re-registers) a pesticide if it is persuaded, based largely on

studies and data submitted by the registrant, that: (1) its composition is such as to warrant the

proposed claims for it, 7 U.S.C. § 136a(c)(5)(A); (2) its labeling and other material required to be

submitted comply with the requirements of FIFRA, 7 U.S.C. § 136a(c)(5)(B); (3) it will perform

its intended function without unreasonable adverse effects on the environment, 7 U.S.C. §

136a(c)(5)(C); and (4) when used in accordance with widespread and commonly recognized




                                                 11
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 12 of 29 Page ID #12




practice it will not generally cause unreasonable adverse effects on the environment, 7 U.S.C. §

136a(c)(5)(D).

       59.       FIFRA defines “unreasonable adverse effects on the environment” as “any

unreasonable risk to man or the environment, taking into account the economic, social, and

environmental costs and benefits of the use of any pesticide.” 7 U.S.C. § 136(bb).

       60.       Under FIFRA, “[a]s long as no cancellation proceedings are in effect registration

of a pesticide shall be prima facie evidence that the pesticide, its labeling and packaging comply

with the registration provisions of [FIFRA].” 7 U.S.C. § 136a(f)(2). However, FIFRA further

provides that “[i]n no event shall registration of an article be construed as a defense for the

commission of any offense under [FIFRA].” 7 U.S.C. § 136a(f)(2).

       61.       The distribution or sale of a pesticide that is misbranded is an offense under FIFRA,

which provides in relevant part that “it shall be unlawful for any person in any State to distribute

or sell to any person ... any pesticide which is ... misbranded.” 7 U.S.C. § 136j(a)(1)(E). A pesticide

is misbranded under FIFRA if, among other things: (1) its labeling bears any statement, design, or

graphic representation relative thereto or to its ingredients which is false or misleading in any

particular, 7 U.S.C. § 136(q)(1)(A); (2) the labeling accompanying it does not contain directions

for use which are necessary for effecting the purpose for which the product is intended and if

complied with, together with any requirements imposed under section 136a(d) of this title, are

adequate to protect health and the environment, 7 U.S.C. § 136(q)(1)(F); or (3) the label does not

contain a warning or caution statement which may be necessary and if complied with, together

with any requirements imposed under section 136a(d) of this title, is adequate to protect health and

the environment,” 7 U.S.C. § 136(q)(1)(G).




                                                  12
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 13 of 29 Page ID #13




       62.     As a result, a pesticide may be misbranded despite an EPA determination that it

met FIFRA’s registration criteria. In other words, notwithstanding its registration, a pesticide is

misbranded if its label contains “false or misleading” statements, has inadequate instructions for

use, or omits warnings or cautionary statements necessary to protect human health. Similarly, a

pesticide may be found to cause unreasonable adverse effects on humans when used according to

the approved label despite a determination by the EPA that it would not.

       63.     Plaintiff does not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA. Any allegation

in this Complaint that a Defendant breached a duty to provide adequate directions for the use of or

warnings about Paraquat, breached a duty to provide adequate packaging for Paraquat, concealed,

suppressed, or omitted to disclose any material fact about Paraquat, or engaged in any unfair or

deceptive practice regarding Paraquat, is intended and should be construed to be consistent with

that alleged breach, concealment, suppression, or omission, or unfair or deceptive practice having

rendered the Paraquat “misbranded” under FIFRA. However, Plaintiff brings claims and seeks

relief in this action only under state law, and does not bring any claims or seek any relief in this

action under FIFRA.

                                  Acts of Syngenta Defendants

       64.     SAG is a foreign corporation organized and existing under the laws of Switzerland,

with its principal place of business in Basel, Switzerland. It is a successor by merger or

continuation of business to its corporate predecessors, including but not limited to ICI.

       65.     SCPLLC is a limited liability company organized under the laws of the State of

Delaware. It is a successor by merger or continuation of business to its corporate predecessors,




                                                 13
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 14 of 29 Page ID #14




including but not limited to ICI Americas. SCPLLC is registered with the State of California,

Secretary of State to do business in the State of California.

       66.     SCPLLC or its corporate predecessors have sufficient minimum contacts with the

State of California and have purposefully availed themselves of the privileges of conducting

business in the State of California, in that they:

               a. secured and maintained the registration of Paraquat products and other

                   pesticides with the CDPR to enable themselves and others to manufacture,

                   distribute, sell, and use these products in the State of California;

               b. marketed, licensed, advertised, distributed, sold, and delivered Paraquat and

                   other pesticides to chemical companies, licensees, distributors, and dealers

                   whom they expected to distribute and sell Paraquat and other pesticides in or

                   for use in the State of California, including the Chevron Defendants and

                   “Syngenta Retailers,” as well as to applicators and farmers in the State of

                   California;

               c. employed or utilized sales representatives to market and sell Paraquat and other

                   pesticides in California;

               d. maintained several locations throughout the State of California, including in the

                   towns of Sanger, Granite Bay and Roseville;

               e. attended meetings of the CDPR’s Pesticide Registration and Evaluation

                   Committee relating to the registration of their pesticides, including Paraquat;

               f. sponsored continuing education seminars for the CDPR at various locations in

                   the State of California, including the towns of Oxnard, Seal Beach, Rancho

                   Santa Fe, Somis, Orcutt, Woodland and Pala;



                                                     14
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 15 of 29 Page ID #15




               g. utilized California state courts to promote their pesticide business, including

                   filing an action against the CDPR and another pesticide manufacturer for

                   allegedly using Syngenta data to obtain approval of pesticides for others without

                   its consent, see Syngenta Crop Prot., Inc. v. Helliker (2006) 138 Cal.App.4th

                   1135; and filing an action against the California EPA’s Office of Environmental

                   Health Hazard Assessment challenging the agency’s decision to list its pesticide

                   atrazine as a chemical known to cause reproductive toxicity under Proposition

                   65, see Syngenta Crop Protection v. OEHHA (Sacramento Superior Court Case

                   No. 34-2014-800001868); and

               h. performed and funded the testing of pesticides in the State of California.

       67.     SCPLLC’s contacts with the State of California are related to or gave rise to this

controversy.

       68.     SAG exercises an unusually high degree of control over SCPLLC, such that

SCPLLC is the agent or mere instrumentality of SAG. SCPLLC’s contacts with California are thus

imputed to SAG for purposes of jurisdiction. See City of Greenville, Ill. v. Syngenta Crop Prot.,

Inc., 830 F. Supp. 2d 550 (S.D. Ill. 2011).

                                   Acts of Chevron Defendants

       69.     Chevron U.S.A., Inc. is a corporation organized under the laws of the State of

Pennsylvania, with its headquarters and principal place of business in San Ramon, California.

       70.     Does One through Sixty are corporate entities which are agents, joint venturers,

alter-egos, successors-in-interest, and predecessors-in-interest to Chevron U.S.A., Inc. Does One

through Sixty were each acting within the course and scope of their agency, joint venture, alter-

ego relationship, and corporate interrelationship. The exact nature, relation, and corporate structure



                                                  15
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 16 of 29 Page ID #16




of Does One through Sixty have not yet been finally determined. Plaintiff reserves the right to

amend this complaint with corporate allegations when they are finally determined.

       71.     Jurisdiction is proper over Chevron U.S.A. Inc. because it is a California resident

and citizen, maintaining its principal place of business and headquarters in California.

      DEFENDANTS’ TORTIOUS CONDUCT RESULTED IN LINDA ZUMDAHL
                   DEVELOPING PARKINSON’S DISEASE

       72.     Plaintiff LINDA ZUMDAHL hereby refers to, incorporates, and re-alleges by this

reference as though set forth in full, each and every allegation hereinabove and makes them a part

of the following allegations.

       73.     Plaintiff LINDA ZUMDAHL is a resident and citizen of Castaic, California.

       74.     Plaintiff LINDA ZUMDAHL was exposed to Paraquat manufactured and sold by

Defendants while Plaintiff LINDA ZUMDAHL worked in the family farm in Baileyville, Illinois.

       75.     Plaintiff LINDA ZUMDAHL was in agricultural business until at least 1973. She

worked on her family farm as a flag person for the herbicide applicator, where she helped mixed

Paraquat, transferred it into application equipment, sprayed it, and cleaned the equipment on farms

covering mutiple acres.

       76.     During this time, Plaintiff LINDA ZUMDAHL was in close contact to the Paraquat

that was designed, manufactured, and distributed by Defendants, and each of them. During that

time, Plaintiff LINDA ZUMDAHL would also mix, load, spray, and/or clean Paraquat.

       77.     The Paraquat to which Plaintiff LINDA ZUMDAHL was exposed entered her body

through absorption or penetration of the skin, mucous membranes, and other epithelial tissues

(including tissues of the mouth, nose and nasal passages, trachea, and conducting airways,

particularly where cuts, abrasions, rashes, sores, or other tissue damage are present); and/or 2)

through the olfactory bulb; and/or 3) through respiration into the lungs; and/or 4) through ingestion


                                                 16
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 17 of 29 Page ID #17




into the digestive tract of small droplets swallowed after entering the mouth, nose, or conducting

airways. Once absorbed, the Paraquat entered his bloodstream, attacked his nervous system, and

was substantial factor in causing him to suffer Parkinson’s disease.

       78.     Plaintiff LINDA ZUMDAHL was diagnosed with Parkinson’s disease in or about

2019 but only recently learned that the Defendants caused this condition.

       79.     Plaintiff LINDA ZUMDAHL had no reason to suspect the diagnosis was connected

to her past Paraquat exposure.

       80.     Although Plaintiff LINDA ZUMDAHL knew that the Paraquat to which she was

exposed was acutely toxic, she had no reason to suspect that chronic, low-dose exposure to

Paraquat could cause neurological diseases such as Parkinson’s disease.

       81.     Plaintiff LINDA ZUMDAHL was never told, either by a medical professional, by

media, or by the Defendants, that chronic, low-dose exposure to Paraquat could cause him to suffer

Parkinson’s disease.

       82.     Plaintiff LINDA ZUMDAHL first became aware of Paraquat’s role in causing her

Parkinson’s disease and the wrongful acts of the Defendants that caused or contributed to her

developing Parkinson’s disease within a year of the filing date of this Complaint.

       83.     Plaintiff LINDA ZUMDAHL did not discover this earlier because she had no

reason to suspect that her working with Paraquat could cause him to suffer Parkinson’s disease.

       84.     Defendants’ acts and omissions were a legal, proximate, and substantial factor in

causing Plaintiff LINDA ZUMDAHL to suffer severe and permanent physical injuries, pain,

mental anguish, and disability, and will continue to do so for the remainder of her life.

       85.     By reason of the premises, it became necessary for Plaintiff LINDA ZUMDAHL

to incur expenses from medical care and treatment, and related costs and expenses required in the



                                                 17
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 18 of 29 Page ID #18




care and treatment of said injuries. Plaintiff LINDA ZUMDAHL’s damages in this respect are

presently unascertained as said services are still continuing.

        86.     By reason of the premises, it will be necessary for Plaintiff LINDA ZUMDAHL to

incur future expenses for medical care and treatment, and related costs and expenses required for

future care and treatment. Plaintiff’s damages in this respect are presently unascertained as said

services are still continuing. Plaintiff prays leave to insert elements of damages in this respect

when the same are finally determined.

        87.     By reason of the premises, Plaintiff LINDA ZUMDAHL has been at times unable

to maintain regular employment, incurring special damages in a presently unascertained sum as

said loss is still continuing. Plaintiff prays leave to insert elements of damages with regards to past

wage loss, future wage loss, and lost earning capacity when the same are finally determined.

        88.     By reason of the premises, Plaintiff has suffered general (non-economic) damages

in a sum in excess of the jurisdictional minimum of this court.

        89.     By reason of the premises, Plaintiff has suffered special (economic) damages in a

sum in excess of the jurisdictional minimum of this court.

                                      CAUSES OF ACTION

              COUNT I – STRICT PRODUCTS LIABILITY DESIGN DEFECT

        90.     Plaintiff incorporates by reference each allegation set forth in preceding paragraphs

as if fully stated herein.

        91.     Defendants are liable to Plaintiff under a products liability theory for marketing a

defectively-designed product, as well as for failing to adequately warn of the risk of severe

neurological injury caused by chronic, low-dose exposure to Paraquat.




                                                  18
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 19 of 29 Page ID #19




       92.     At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendants, Does One

through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold

Paraquat for use in the State of California.

       93.     At all relevant times and places, the Paraquat that Chevron U.S.A. Inc., the

Syngenta Defendants, Does One through Sixty, and their corporate predecessors designed,

manufactured, distributed, and sold was used in the intended or a reasonably foreseeable manner.

       94.     Plaintiff LINDA ZUMDAHL was exposed to Paraquat that Chevron U.S.A. Inc.,

the Syngenta Defendants, Does One through Sixty, and their corporate predecessors designed,

manufactured, distributed, and sold. As a result of that exposure, Paraquat entered Plaintiff LINDA

ZUMDAHL’s body causing Plaintiff to develop Parkinson’s disease.

       95.     The Paraquat that Chevron U.S.A. Inc., the Syngenta Defendants, Does One

through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold did

not perform as safely as an ordinary consumer would have expected it to perform when used in

the intended or a reasonably foreseeable manner, in that:

               a. as designed, manufactured, formulated and packaged Paraquat was likely to be

                   inhaled, ingested, and absorbed into the bodies of persons who used it, who

                   were nearby while it was being used, or who entered fields or orchards where

                   it had been sprayed (or areas near where it had been sprayed); and

               b. when inhaled, ingested, or absorbed into the body, it was likely to cause

                   neurological damage that was both permanent and cumulative, and repeated

                   low-dose exposures were likely to cause neurodegenerative disease, including

                   Parkinson’s disease.




                                                19
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 20 of 29 Page ID #20




       96.     Alternatively, Chevron U.S.A. Inc., the Syngenta Defendants, Does One through

Sixty, and their corporate predecessors’ Paraquat products were defectively designed in that the

risk of danger inherent in the challenged design outweighed the benefits of such design,

considering, among other relevant factors, the gravity of the danger posed by the challenged

design, the likelihood that such danger would occur, the mechanical feasibility of a safer alternative

design, the financial cost of an improved design, and the adverse consequences to the product and

to the consumer that would result from an alternative design.

       97.     The design defect existed when the Paraquat left Chevron U.S.A. Inc., the Syngenta

Defendants, Does One through Sixty, and their corporate predecessors’ possession and control.

       WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

          COUNT II – STRICK PRODUCTS LIABILITY FAILURE TO WARN

       98.     Defendants are also liable to Plaintiff under a products liability theory based on

their failure to adequately warn of the risks of Paraquat. Plaintiff incorporates by reference each

allegation set forth in preceding paragraphs as if fully stated herein.

       99.     When Chevron U.S.A. Inc., the Syngenta Defendants, Does One through Sixty, and

their corporate predecessors manufactured and sold the Paraquat to which Plaintiff was exposed,

it was known or knowable to Chevron U.S.A. Inc., the Syngenta Defendants, Does One through

Sixty, and their corporate predecessors in light of scientific knowledge that was generally accepted

in the scientific community that:




                                                  20
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 21 of 29 Page ID #21




               a. Paraquat was designed, manufactured, formulated, and packaged such that it

                   was likely to be inhaled, ingested, and absorbed into the bodies of persons who

                   used it, who were nearby while it was being used, or who entered fields or

                   orchards where it had been sprayed or areas near where it had been sprayed;

                   and

               b. when inhaled, ingested, or absorbed into the body, it was likely cause latent

                   neurological damage that was both permanent and cumulative, and that

                   repeated, low-dose exposures were likely to cause neurodegenerative disease,

                   including Parkinson’s disease.

       100.    The risk of contracting Parkinson’s disease from chronic, low-dose exposure to

Paraquat presented a substantial danger to users of Paraquat when the product was used in a

reasonably foreseeable manner.

       101.    An ordinary consumer would not have recognized the potential risk of permanent,

irreversible neurological damage, including the risk of contracting Parkinson’s disease, from

chronic, low-dose exposure to Paraquat.

       102.    Chevron U.S.A. Inc., the Syngenta Defendants, Does One through Sixty, and their

corporate predecessors failed to warn of the potential risk of permanent, irreversible neurological

damage from chronic, low-dose exposure to Paraquat, and failed to provide adequate instructions

regarding avoidance of these risks.

       103.    As a direct and proximate result of Chevron U.S.A. Inc., the Syngenta Defendants,

Does One through Sixty, and their corporate predecessors’ marketing a defective product, Plaintiff

suffered the injuries described in this Complaint.




                                                 21
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 22 of 29 Page ID #22




        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                                  COUNT III - NEGLIGENCE

        104.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs

as if fully stated herein.

        105.    At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendants, Does One

through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold

Paraquat for use in the State of California and throughout the United States.

        106.    Plaintiff LINDA ZUMDAHL was exposed to Paraquat that Chevron U.S.A. Inc.,

the Syngenta Defendants, Does One through Sixty, and their corporate predecessors manufactured

and sold.

        107.    The Paraquat to which Plaintiff was exposed was used in the intended or a

reasonably foreseeable manner.

        108.    At all times relevant to this claim, in researching, designing, manufacturing,

packaging, labeling, distributing, and selling Paraquat, Chevron U.S.A. Inc., the Syngenta

Defendants, Does One through Sixty, and their corporate predecessors owed a duty to exercise

ordinary care for the health and safety of the persons whom it was reasonably foreseeable could

be exposed to Paraquat, including Plaintiff LINDA ZUMDAHL.

        109.    When Chevron U.S.A. Inc., the Syngenta Defendants, Does One through Sixty, and

their corporate predecessors designed, manufactured, packaged, labeled, distributed, and sold the

Paraquat to which Plaintiff was exposed, it was reasonably foreseeable that Paraquat:



                                                 22
Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 23 of 29 Page ID #23




              a. was likely to be inhaled, ingested, and absorbed into the bodies of persons who

                  used it, who were nearby while it was being used, or who entered fields or

                  orchards where it had been sprayed or areas near where it had been sprayed;

                  and

              b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who

                  were nearby while it was being used, or who entered fields or orchards where

                  it has been sprayed or areas near where it has been sprayed, it was likely to

                  cause neurological damage that was both permanent and cumulative, and

                  repeated exposures were likely to cause neurodegenerative disease, including

                  Parkinson’s disease.

       110.   In breach of the aforementioned duty to Plaintiff, Chevron U.S.A. Inc., the

Syngenta Defendants, Does One through Sixty, and their corporate predecessors negligently:

              a. failed to design, manufacture, formulate, and package Paraquat to make it

                  unlikely to be inhaled, ingested, and absorbed into the bodies of persons who

                  used it, who were nearby while it was being used, or who entered fields or

                  orchards where it had been sprayed or areas near where it had been sprayed;

              b. designed, manufactured, and formulated Paraquat such that it was likely to

                  cause neurological damage that was both permanent and cumulative, and

                  repeated exposures were likely to cause clinically significant neurodegenerative

                  disease, including Parkinson’s disease;

              c. failed to conduct adequate research and testing to determine the extent to which

                  exposure to Paraquat was likely to occur through inhalation, ingestion, and

                  absorption into the bodies of persons who used it, who were nearby while it was



                                               23
Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 24 of 29 Page ID #24




                 being used, or who entered fields or orchards where it had been sprayed or areas

                 near where it had been sprayed;

              d. failed to conduct adequate research and testing to determine the extent to which

                 Paraquat spray drift was likely to occur, including its propensity to drift, the

                 distance it was likely to drift, and the extent to which Paraquat spray droplets

                 were likely to enter the bodies of persons spraying it or other persons nearby

                 during or after spraying;

              e. failed to conduct adequate research and testing to determine the extent to which

                 Paraquat was likely to cause or contribute to cause latent neurological damage

                 that was both permanent and cumulative, and the extent to which repeated

                 exposures were likely to cause or contribute to cause clinically significant

                 neurodegenerative disease, including Parkinson’s disease;

              f. failed to direct that Paraquat be used in a manner that would have made it

                 unlikely to be inhaled, ingested, and absorbed into the bodies of persons who

                 used it, who were nearby while it was being used, or who entered fields or

                 orchards where it had been sprayed or areas near where it had been sprayed;

                 and

              g. failed to warn that Paraquat was likely to cause neurological damage that was

                 both permanent and cumulative, and repeated exposures were likely to cause

                 clinically significant neurodegenerative disease, including Parkinson’s disease.

       111.   Chevron U.S.A. Inc., the Syngenta Defendants, Does One through Sixty, and their

corporate predecessors knew or should have known that users would not realize the dangers of




                                               24
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 25 of 29 Page ID #25




exposure to Paraquat and negligently failed to take reasonable steps to prevent the foreseeable risk

of harm from exposure to Paraquat.

        112.    As a direct and proximate result of Chevron U.S.A. Inc., the Syngenta Defendants,

Does One through Sixty, and their corporate predecessors’ negligence, Plaintiff suffered the

injuries described in this Complaint.

        113.    Additionally, in the course of designing, manufacturing, packaging, labeling,

distributing, and selling Paraquat, Chevron U.S.A. Inc., the Syngenta Defendants, Does One

through Sixty, and their corporate predecessors violated laws, statutes, and regulations, including

but not limited to: sections of Food & Agriculture Code, Division 7, Chapter 2 (Pesticides) and

sections of Title 3, California Code of Regulations, Division 6 (Pesticides).

        114.    Plaintiff was a member of the class of persons that said laws, statutes, and

regulations were intended to protect.

        115.    The violations of said laws, statutes, and regulations by Chevron U.S.A. Inc., the

Syngenta Defendants, and Does One through Sixty were also substantial factors in causing

Plaintiff’s injuries.

        116.    The injuries that resulted from the violations by Chevron U.S.A. Inc., the Syngenta

Defendants, and Does One through Sixty were the kind of occurrences the laws, statutes, and

regulations were designed to protect against.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.




                                                 25
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 26 of 29 Page ID #26




     COUNT IV - BREACH OF IMPLIED WARRANTY OF MERCHANTABILITY

        117.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs

as if fully stated herein.

        118.    At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendants, Does One

through Sixty, and their corporate predecessors engaged in the business of designing,

manufacturing, distributing, and selling Paraquat and other restricted-use pesticides and held

themselves out as having special knowledge or skill regarding Paraquat and other restricted-use

pesticides.

        119.    At all relevant times, Chevron U.S.A. Inc., the Syngenta Defendants, Does One

through Sixty, and their corporate predecessors designed, manufactured, distributed, and sold

Paraquat for use in the State of California.

        120.    Plaintiff was exposed to Paraquat that Chevron U.S.A. Inc., the Syngenta

Defendants, Does One through Sixty, and their corporate predecessors designed, manufactured,

distributed, and sold.

        121.    The Paraquat to which Plaintiff LINDA ZUMDAHL was exposed was not fit for

the ordinary purposes for which it was used, and in particular:

                a. it was designed, manufactured, formulated, and packaged such that it was likely

                    to be inhaled, ingested, and absorbed into the bodies of persons who used it,

                    who were nearby while it was being used, or who entered fields or orchards

                    where it had been sprayed or areas near where it had been sprayed; and

                b. when inhaled, ingested, or absorbed into the bodies of persons who used it, who

                    were nearby while it was being used, or who entered fields or orchards where

                    it had been sprayed or areas near where it had been sprayed, it was likely to



                                                 26
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 27 of 29 Page ID #27




                    cause neurological damage that was both permanent and cumulative, and

                    repeated exposures were likely to cause neurodegenerative disease, including

                    Parkinson’s disease.

        122.    As a direct and proximate result of Chevron U.S.A. Inc., the Syngenta Defendants,

Does One through Sixty, and their corporate predecessors’ breach of implied warranty, Plaintiff

suffered the injuries herein described.

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                              COUNT V- PUNITIVE DAMAGES

        123.    Plaintiff incorporates by reference each allegation set forth in preceding paragraphs

as if fully stated herein.

        124.    Defendants’ conduct as alleged herein was done with oppression, fraud, and malice.

Defendants were fully aware of the safety risks of Paraquat. Nonetheless, Defendants deliberately

crafted their label, marketing, and promotion to mislead farmers and consumers.

        125.    This was not done by accident or through some justifiable negligence. Rather,

Defendants knew that it could turn a profit by convincing the agricultural industry that Paraquat

did not cause Parkinson’s Disease, and that full disclosure of the true risks of Paraquat would limit

the amount of money Defendants would make selling Paraquat in California. Defendants’

objective was accomplished not only through its misleading labeling, but through a comprehensive

scheme of selective fraudulent research and testing, misleading advertising, and deceptive

omissions as more fully alleged throughout this pleading. Plaintiff was denied the right to make



                                                 27
 Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 28 of 29 Page ID #28




an informed decision about whether to purchase, use, or be exposed to an herbicide, knowing the

full risks attendant to that use. Such conduct was done with conscious disregard of Plaintiff’s

rights.

          126.   There is no indication that Defendants will stop their deceptive and unlawful

marketing practices unless they are punished and deterred. Accordingly, Plaintiff requests punitive

damages against the Defendants for the harms caused to Plaintiff.

          WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in Plaintiff’s

favor for compensatory and punitive damages, together with interest, costs herein incurred,

attorneys’ fees and all relief as this Court deems just and proper. Additionally, Plaintiff demands

a jury trial on all issues contained herein.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff requests this Court to enter judgment in Plaintiff’s favor and

against the Defendants for:

                 a. actual or compensatory damages in such amount to be determined at trial and

                     provided by applicable law;

                 b. exemplary and punitive damages sufficient to punish and deter the Defendants

                     and others from future fraudulent practices;

                 c. pre-judgment and post-judgment interest;

                 d. costs including reasonable attorneys’ fees, court costs and other litigation

                     expenses; and

                 e. any other relief the Court may deem just and proper.

                                       JURY TRIAL DEMAND

          Plaintiff demands a trial by jury on all of the triable issues within this pleading.



                                                    28
Case 3:22-pq-00076-NJR Document 1 Filed 01/16/22 Page 29 of 29 Page ID #29




Dated: January 16, 2022             Respectfully Submitted,

                                    /s/Riley L. Burnett, Jr.
                                    Riley L. Burnett, Jr.
                                    Karen H. Beyea-Schroeder
                                    BURNETT LAW FIRM
                                    3737 Buffalo Speedway, 18th Floor
                                    Houston, Texas 77098
                                    Tel: (832) 413-4410
                                    Fax: (832) 900-2120
                                    Karen.Schroeder@RBurnettLaw.com
                                    RBurnett@RBurnettLaw.com

                                    Counsel for Plaintiff




                                    29
